Case 2:05-cV-02069-.]P|\/|-de Document 19 Filed 08/29/05 Page 1 of 3 Page|D 23

HUH)By
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FoR THE wEsTERN DIsTRIcT oF TENNESSEE osau
wEsTERN DIvIsIoN 929 AH 8,.20

 

PAT JOHNSON,

 

Plaintiff,
v. No. 05-2069 Ml/v

RELIANCE STANDARD
LIFE INSURANCE COMPANY,

Defendant.

 

ORDER TO SHOW CAUSE

 

Before the Court is the Motion to Dismiss by Defendant
Reliance Standard Life Insurance Company, filed July 8, 2005.
Under Local Rule 7.2(a)(2) and Fed. R. Civ. P. 6, a response to
the motion was due on or before August lO, 2005. To dater
Plaintiff has not filed a response. Accordingly, Plaintiff is
hereby ORDERED to SHOW CAUSE within ten (lO) days of the date of
entry of this Order why Defendants' motion should not be
granted.1

Failure to respond to this Order to Show Cause in a timely
manner may result in a judgment in favor of Defendants on the

motion.

 

l To comply with this Order, Plaintiff must file a

written response to Defendants' motion.

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Th|s document entered on the docks heat |n compliance
with Ru\e 53 and/or re(a) FHCP on 'Z-q 'O 5 /

Case 2:05-cV-02069-.]P|\/|-de Document 19 Filed 08/29/05 Page 2 of 3 Page|D 24

so oRDERED this ,?(0 day of August, 2005.

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JO P. MCCALLA
U ITED STATES DISTRICT JUDGE

 

STATES DISTRICT OURT - WESTENR ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 19 in
case 2:05-CV-02069 Was distributed by faX, mail, or direct printing on
August 29, 2005 to the parties listed.

 

 

.1 ohn M. Bailey

LAW OFFICES OF JOHN 1\/1. BAILEY
5978 Knight Arnold

Ste. 400

1\/1emphis7 TN 38115

S. Russell Headrick

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

Leigh McDaniel Chiles

BAKER DONELSON BEARMAN CALDWELL & BERKOWITZ- Memphis
165 Madison Ave.

Ste. 2000

1\/1emphis7 TN 38103

.1 immy Moore

CIRCUIT COURT, 30TH .TUDICIAL DISTRICT
140 Adams Ave.

Rm. 224

1\/1emphis7 TN 38103

Honorable .1 on McCalla
US DISTRICT COURT

